                Case 19-11466-MFW               Doc 927        Filed 10/30/19        Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         )
                                                               )        Chapter 11
CENTER CITY HEALTHCARE LLC d/b/a                               )
HAHNEMANN UNIVERSITY                                           )        Bankruptcy No. 19-11466
HOSPTIAL et al.,1                                              )
                                                               )        Jointly Administered
                           Debtors.                            )
                                                               )

    THE CITY OF PHILADELPHIA’S RESPONSE TO DEBTORS’ MOTION FOR STAY
     PENDING APPEAL OF ORDER GRANTING IN PART THE MOTION OF TENET
        BUSINESS SERVICES CORPORATION AND CONIFER REVENUE CYCLE
     SOLUTIONS, LLC FOR ENTRY OF AN ORDER (I) COMPELLING PAYMENT OF
    ALL UNPAID POSTPETITION AMOUNTS PURSUANT TO 11 U.S.C. § 503(b)(1) OR,
    IN THE ALTERNATIVE, (II) GRANTING RELIEF FROM THE AUTOMATIC STAY
          TO THE EXTENT NECESSARY TO TERMINATE THE TSA AND MSA

         The City of Philadelphia (“the City”) respectfully represents as follows in support of this

Response to the Debtors’ Motion for Stay Pending Appeal of Order Granting in Part the Motion

of Tenet Business Services Corporation and Conifer Revenue Cycle Solutions, LLC for Entry of

an Order (I) Compelling Payment of all Unpaid Postpetition Amounts Pursuant to 11 U.S.C. §

503(b)(1) or, in the Alternative, (II) Granting Relief from the Automatic Stay to the Extent

Necessary to Terminate the TSA and MSA (the “Motion for Stay”):

         1.       The City is hesitant to weigh-in on the contract dispute between the Debtors and

Tenet Business Services Corporation (“Tenet”). It is compelled to do so, however, on behalf of the

former patients of Hahnemann University Hospital (“HUH”) and current patients of St.

Christopher’s Hospital for Children (“St. Chris”).


1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), St. Chris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.
              Case 19-11466-MFW            Doc 927     Filed 10/30/19     Page 2 of 4




       2.      The Philadelphia Department of Public Health (“PDPH”) has received complaints

from physicians caring for former HUH patients regarding difficulty accessing medical records.

The City is concerned that the dispute between Tenet and the Debtors is causing unnecessary delay

in access to patient records, hindering continued patient care and endangering the health and

welfare of patients.

       3.      Debtor Philadelphia Academic Health Holdings, LLC, Philadelphia Academic

Health System, LLC and Tenet are parties to a Transition Services Agreement (“TSA”) pursuant

to which Tenet provides, among other services, electronic health records (“EHR”) software which

allows for sharing and tracking patient care and is critical to the continued operations at St. Chris.

See Motion for Stay, p. 10, ¶ 30. Tenet’s EHR software is also necessary to give former HUH

patients continued access to their patient records. Id. at p. 14, ¶ 37.

       4.      The Debtors acknowledge that delays in providing records can result in delays in

treatment. Debtors represent they will take steps necessary to migrate records from the Tenet

system to an alternative repository for future access. Id. Upon information and belief, Tenet has

offered to continue to provide services under the TSA through November 4, 2019.

       5.      The City fears that what happens next with respect to this dispute will have grave

consequences for patient care. It appears the Debtors are not prepared for termination of the TSA.

Although the fee dispute with Tenet was evidently brewing well before the petition date, the

Debtors submit that they do not have the means or the resources to transition to a new a new EHR

platform requiring them to revert to paper record-keeping, which, according to the Debtors, may

take up to a year. See Motion for Stay, p. 11, ¶ 31. If the Debtors’ prediction comes to fruition, the

hospitals will run afoul of federal and state law.
              Case 19-11466-MFW           Doc 927      Filed 10/30/19      Page 3 of 4




       6.      Under applicable Pennsylvania law, the medical records of patients of St. Chris and

former HUH patients are property of the hospitals. 28 Pa. Code §115.28. Upon discontinuing

operation, HUH must store the records in a facility offering retrieval services for 5 years after

closure. 28 Pa. Code § 115.23; 42 C.F.R. § 482.24(b)(l).

       7.      The hospitals are required to have a medical records service capable of providing

ready access to persons requesting records. 28 Pa. Code § 115.1. Under the Privacy Rule of the

Health Insurance Portability and Accountability Act (“HIPPAA”), the hospitals must act on an

individual’s request for access to records no later than 30 calendar days after receipt of the request.

See 45 C.F.R. 164.524(b)(2). If the records are requested in electronic format, then the hospitals

must provide the individual with access to the information in the electronic form and format

requested, if available. 45 C.F.R. § 164.524.

       8.      Use of EHR is specifically encouraged by both state and federal law. See 28 Pa.

Code § 115.26, see also, the Health Information Technology for Economical and Clinical Health

(“HITECH”) Act, 42 U.S.C. §§ 300jj et seq.; §§ 17901 et seq. Under the EHR Incentive Program

of the HITECH Act, the Centers for Medicare & Medicaid Services established incentive payments

for the adoption of meaningful use of EHR technology. Participating providers are required to give

individuals certain information, such as discharge information, lab reports and radiology reports

(collectively “Continuity of Care Documents” or “CCD”), on an expedited basis to ensure

continuity of care. 42 C.F.R. § 495.20.

       9.      In addition, immediate termination of access to records of former HUH patients

would breach the Final Closure Plan for HUH approved by the Pennsylvania Department of Health

(“PA DOH”) and PDPH. At Exhibit 30-A(1) to the Final Closure Plan, HUH was granted 60-90

days to work with a health information exchange to create and maintain access to certain electronic
              Case 19-11466-MFW              Doc 927   Filed 10/30/19      Page 4 of 4




records/data sets including a portion of medical records included in CCD. This work requires the

restructuring of an existing interface between Tenet and the health information exchange and

requires the full cooperation of Tenet. Also, under the Final Closure Plan, HUH is required to

migrate data from Tenet’s EHR system, with Tenet’s help, to a new platform to allow patient

access to a full set of electronic records

        10.     It is unacceptable that access to patient records may be jeopardized by the fee

dispute. Access to medical records should not be used as leverage in negotiation and both parties

must assure immediate and continued access to electronic medical records by former HUH patients

and the physicians who have assumed their care. Federal and state laws and the Final Closure Plan

are in place to maintain the safety and wellbeing of the public and should be adhered to by the

Debtors and Tenet.

        11.     To the extent the Court grants either party further relief with respect to the dispute,

the order should require compliance of both parties with respect to 1) all applicable federal and

state laws regarding maintenance of and access to patient medical records; and 2) the terms of the

Final Closure Plan as approved by the PA DOH and PDPH.

                                                       Respectfully submitted,


Dated: October 30, 2019                         By:    /s/ Megan N. Harper
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